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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                  CASE NO.: 1:23-cv-21491-CMA

  JESUS HERNANDEZ,

              Plaintiff,

  v.

  HEALTHCARE REVENUE RECOVERY
  GROUP, LLC,

           Defendant.
  _____________________________________/

                                 JOINT NOTICE OF SETTLEMENT
         PLEASE TAKE NOTICE that Plaintiff, JESUS HERNANDEZ and Defendant,

 HEALTHCARE REVENUE RECOVERY GROUP, LLC have reached a mutually agreeable

 settlement in the above-captioned matter.

         The parties are in the process of finalizing the terms of settlement and respectfully request

 that this Court allow thirty (30) days to complete the settlement, during which time Parties request

 this Court retain jurisdiction over this matter until fully resolved. The Parties anticipate that a joint

 stipulation to voluntary dismissal with Prejudice will be filed within thirty (30) days.

 Respectfully submitted,

   /s/ Jose M. Francisco                                /s/ Ernest H. Kohlmyer, III
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                                                        Revenue Recovery Group, LLC
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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 5, 2023 I electronically filed the foregoing document

 with the Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day

 on all counsel of record or pro se parties identified on the following Service List in the manner

 specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in some

 other authorized manner for those counsel or parties who are not authorized to receive

 electronically notices of Electronic Filing.



                                                            /s/Jose M. Francisco



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